Case 3:12-cr-30034-RAL      Document 67      Filed 06/12/12    Page 1 of 9 PageID #: 218


                        UNITED STATES DISTRICT COURT

                           DISTRICT OF SOUTH DAKOTA
                                                                              FILED
                                                                              JUN 1 2 2012
                                  CENTRAL DIVISION                               ~J 1
*******************************************************************************~~
                                          *
UNITED STATES OF AMERICA,                 *                CR. 12·30034(02)-RAL
                                          *
       Plaintiff,                         *
                                          *     REPORT AND RECOMMENDATION
·vs·                                      *    FOR DISPOSITION OF DEFENDANT'S
                                          *           SUPPRESSION MOTION
INA CROW DOG,                             *
                                          *
       Defendant.                         *
                                          *
********************************************************************************************

                                      SUMMARY

      Ina Crow Dog is charged, as a principal and aider and abettor, with sexually abusing

her daughter and another adult female. She has moved to suppress incriminating

statements she made to law enforcement officers on Miranda and voluntariness grounds.

Because her statements were voluntary and obtained after a proper Miranda advisement,

the Court recommends that the suppression motion be denied.


                                   BACKGROUND

      On October 30, 2011, FBI Agent Oscar Ramirez and Calvin WaIn, Jr., a special agent

with the Rosebud Sioux Tribe, interviewed Crow Dog about sexual abuse allegations

involving her daughter. Crow Dog was in tribal custody at the time. The interview began

at about 11:32 p.m. and ended almost two hours later. Ramirez initially obtained

biographical information from Crow Dog and then proceeded to inform her of her Miranda
Case 3:12-cr-30034-RAL       Document 67        Filed 06/12/12   Page 2 of 9 PageID #: 219


rights. Crow Dog said she understood her rights and signed a written waiver of them. She

answered questions posed to her and asked some of her own. Eventually, she indicated

that she wanted to shut down the interview because she was tired and hungry. Ramirez

immediately stopped questioning Crow Dog about the abuse allegations, but inquired

whether she would talk to agents in the morning. She expressed a willingness to do so.

       The next day, shortly before 10:30 a.m., Ramirez and WaIn met with Crow Dog a

second time. Because she was still in custody, Ramirez advised Crow Dog of her Miranda

rights again, using the same form from the interview the night before. Although she

reiterated that she understood her rights, she refused to consent to an interview, saying

that she was tired. No questioning took place and agents departed minutes later.

      Four and-a-half months later, Crow Dog and her husband, Anthony Fast Horse,

were charged together (by federal indictment) with five counts of sexual abuse and

aggravated sexual abuse in violation of 18 U.S.c. §§1153, 2242(2), 2246(2)(A), 2241(a)J and

2. She subsequently moved to suppress her statements. After receiving the Government's

resistance to the motion, the Court held a hearing at which it heard testimony and received

documentary evidence.


                              MIRANDA ADVISEMENT

      Crow Dog claims that she was "not properly advised of her rights." 1 Although she

does not elaborate on this claim, it is assumed that she contends that the Miranda




       IDkt. No. 48-1.

                                            2
Case 3:12-cr-30034-RAL         Document 67         Filed 06/12/12   Page 3 of 9 PageID #: 220


advisement given to her was deficient. The tape recording of the interview though

indicates otherwise.

       In Miranda v. Arizona: the United States Supreme Court established certain

procedural safeguards that require police to advise a criminal suspect of her rights under

the Fifth Amendment before commencing custodial interrogation. There, the Supreme

Court said that the suspect must be told that "[s]he has the right to remain silent, that

anything [s]he says can be used against [her] in a court of law, that [s]he has the right to the

presence of an attorney, and that if [s]he cannot afford an attorney, one will be appointed

for [her] prior to any questioning if [s]he so desires./ 4 The Court in Miranda "presumed

that interrogation in certain custodial circumstances is inherently coercive and ... that

statements made under those circumstances are inadmissible unless the suspect is

specifically warned of [her] Miranda rights and freely decides to forego those rights."S

       The Supreme Court has never insisted that Miranda warnings be given in the exact

form described by the Miranda decision. In the decision itself, the Court said that "[t]he

warnings required and the waiver necessary in accordance with our opinion today are, in

the absence of a fully effective equivalent, prerequisites to the admissibility of any statement




       2See Mtn. Hrg. Ex. 3 Oune 7, 2012).

       3384 U.S. 436 (1966).

       4Miranda, 384 U.S. at 479.

       sNew York v. Quarles, 467 U.S. 649, 654 (1984) (footnote omitted).

                                               3
Case 3:12-cr-30034-RAL         Document 67         Filed 06/12/12       Page 4 of 9 PageID #: 221


made by a [suspect].,,6 The Court later observed that "the 'rigidity' of Miranda [does not]

exten[d] to the precise formulation of the warnings given a criminal defendant," and that

no talismanic incantation [is] required to satisfy its strictures.,,7

       Here, Ramirez read out loud to Crow Dog - verbatim - her Miranda rights from an

advice of rights form. In doing so, he paused after each right and asked whether she

understood what he had just read to her. Ramirez made checks on the form as he did this.

He also gave Crow Dog the opportunity to read the form to herself. She looked at the form

and ultimately signed the consent portion of the same, acknowledging that she read and

understood what her rights were. The evidence presented unequivocally shows that Crow

Dog was warned, with precision, of all of her rights in accordance with the dictates of

Miranda.


                                     VOLUNTARINESS

       Crow Dog also claims that her October 30 statements to Ramirez and WaIn were

involuntary.s She argues that despite denying that she was involved in the sexual abuse

of her daughter (the alleged victim in Counts I and II of the Indictment) Ramirez persisted

in his questioning and ultimately obtained inculpatory statements from her concerning the




      6Miranda, 384 U.S. at 476 (emphasis added); see also Rhode Island v. Innis, 446 U.S.
291,297 (1980) (referring to the "now familiar Miranda warnings ... or their
equivalent").

       7Calijornia v. Prysock, 453 U.S. 355, 359 (1981) (per curiam).

       8See Dkt. No. 48-1.

                                               4
Case 3:12-cr-30034-RAL            Document 67       Filed 06/12/12   Page 5 of 9 PageID #: 222


abuse. She says that these statements were elicited in violation of her Fifth Amendment

rights.

          Due process requires that incriminating statements or "confessions" be voluntary.9

A statement is voluntary if it is the product of an essentially free and unconstrained choice
                                   II




by its maker." IO Conversely, "[a] statement is involuntary when it [is] extracted by threats,

violence, or express or implied promises sufficient to overbear [the suspect's] will and

critically impair his capacity for self-determination." 11

          The totality of the circumstances must be considered when determining whether

statements were made voluntarily.12 When doing so, a court must focus on two factors:

the conduct of the agents and characteristics of the suspectP The Government bears the

burden of persuasion and must prove, by a preponderance of the evidence, that the

challenged statements were voluntary .14



      9See Brown v. Mississippi, 297 U.S. 278, 285-86 (1936); see also Schneckloth v.
Bustamonte, 412 U.S. 218, 225-26 (1973) (a voluntary confession may be used against a
suspect, but an involuntary one offends due process).

          'OSchneckloth, 412 U.S. at 225.

        United States v. LeBrun, 363 F.3d 715, 724 (8th Cir. 2004) (en bane), cert. denied, 543
          II

U.S. 1145 (2005); see also United States v. Aldridge, 664 F.3d 705,712 (8th Cir. 2011) (the
test for determining voluntariness is "whether, in light of the totality of the
circumstances, pressures exerted upon the suspect have overborne [her] will).

          J2See LeBrun, 363 F.3d at 727; Wilson v. Lawrence County, 260 F.3d 946, 952 (8th Or.
2001).

          i3See LeBrun, 363 F.3d at 724.

        14See United States v. Boslau, 632 F.3d 422, 429 (8th Cir. 2011); United States v.
Astello, 241 F.3d 965,966 (8th Cir.), cert. denied, 533 U.S. 962 (2001).
                                                5
Case 3:12-cr-30034-RAL       Document 67        Filed 06/12/12   Page 6 of 9 PageID #: 223


       Having considered all of the circumstances surrounding Crow Dog's October 30

interview, the Court finds that the requisite coercive or overreaching conduct necessary to

render her statements involuntary is lacking. Several facts support this conclusion.

       Crow Dog was 47 years old at the time of the interview, had 14 years of education

(including an associate's degree from Sinte Gleska University) and could read and write

the English language. She was advised of her Miranda rights, said she understood and

waived them and agreed to talk to agents about what supposedly happened with her

daughter on October 30. Although the interview lasted almost two hours and did not end

until 1:28 a.m., Crow Dog was given two breaks and did not complain about being tired

until just before the interview ended.

       Significantly, at no time did agents make any threats or promises to Crow Dog or

yell, raise their voices or become hostile toward her. Nor did they use any force, employ

physical punishment or brandish their weapons to get her to talk. She cooperated with

agents, initially telling them versions of the night in question that minimized her

culpability .

       Crow Dog's responses to questions from agents were logical and understandable.

While with agents, she was not under the influence of alcohol or drugs and nothing she

said or did indicated she suffered from any mental or physical infirmity.

       Shortly after the first break, the tone of the interview changed. It became much

more accusatory and Ramirez began using deception and other stratagems to get Crow

Dog to admit to being a participant in the sexual abuse of her daughter. Ramirez


                                            6
Case 3:12-cr-30034-RAL        Document 67       Filed 06/12/12     Page 7 of 9 PageID #: 224


acknowledged that he employed deceptive tactics during the interview, telling her things

that were not true in hopes of getting her to confess to what he perceived to be her

involvement in the abuse.

       Officers use a variety of tactics when conducting interviews of suspects, including

claiming not to believe a suspect's explanations, playing on the suspect's emotions,

deceiving the suspect and conveying sympathy.1S None of these tactics, however, render

a confession involuntary unless lithe overall impact of the interrogation caused [the

suspect's] will to be overborne." 16

       Crow Dog, a woman with two years of college education, was willing to implicate

herself to some extent in her own daughter's sexual abuse. But she would not admit to

everything that Ramirez wanted - such as holding her hand over her daughter's mouth

during the abuse - expressing fear, or at least concern, about what Fast Horse and his

family might do to her if she said anything more. Given the circumstances, and in

particular, her history of domestic abuse with Fast Horse, it is understandable why she

chose to do this.

       Thus, even in the face of Ramirez's deception and persuasive tactics, Crow Dog

stopped short, on her own, of making a full confession. And she ultimately terminated the

interview altogether and would not talk to Ramirez or WaIn any further - either that night



       lSUnited States v. Brave Heart, 397 F.3d 1035, 1041 (8th Cir. 2005); Astello, 241 F.3d
at 967-68.

        16Brave Heart, 397 F.3d at 1041 (quoting Jenner v. Smith, 982 F.2d 329, 334 (8th Cir.),
cert. denied, 510 U.S. 822 (1993».
                                               7
Case 3:12-cr-30034-RAL         Document 67       Filed 06/12/12   Page 8 of 9 PageID #: 225


or the next morning. The record as a whole demonstrates that Crow Dog confessed to

what she did because her conscience prevailed upon her to do so, not because the

environment and the nature of the questioning was so coercive thatit overbore her will and

acutely impaired her decision making capacity.17


                                       CONCLUSION

         Crow Dog was advised of all of her rights, waived them and made unconstrained

statements to agents, who collectively took no action that could be considered as coercion

or overstepping their bounds. The Government has established, by a preponderance of the

evidence, that Crow Dog's statements were voluntary under the Fifth Amendment. Her

motion - which seeks to suppress her October 30 statements as substantive evidence at trial

is therefore without foundation in fact or law.


                                     RECOMMENDATION

         Accordingly, it is hereby

         RECOMMENDED that Crow's Dog's Motion to Suppress18 be denied for the

reasons, and based on the authorities, stated herein.




       17See Brave Heart, 397 F.3d at 1041; see also Aldridge, 664 F.3d at 713; Boslau, 632
F.3d at 429-30; United States v. Yazzie, CR. No. 10-30050-RAL, 2011 WL 590112 at *8
(D.S.D. Jan. 25, 2011); report and recommendation adopted, 2011 WL 500004 (D.S.D. Feb. 10,
2011).

         18See Dkt. No. 48.
                                             8
Case 3:12-cr-30034-RAL       Document 67         Filed 06/12/12   Page 9 of 9 PageID #: 226


                                         NOTICE

      An aggrieved party must file written objections, within 14 calendar days, to

challenge this Report before the assigned United States District Judge. 19

      Dated this (2. e. day of June, 2012, at Pierre, South Dakota.

                                                   BY THE COURT:




                                                   MARK A. MORENO
                                                   UNITED STATES MAGISTRATE JUDGE




      19See 28 U.S.c. §636(b)(1).

                                             9
